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UNITED STATES DISTRICT COURT SE AL E D

FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, : Case: 1:14-cr-00180
. Assigned To : Roberts, Richard W.
y, . Assign. Date : 8/20/2014
Description: INFORMATION (A)
BENJAMIN ZALMAN-POLUN, Case Related to: 12-cr-282 (RWR)
Defendant.
ORDER

After weighing the “generalized interests” and “particularized factors” for and against

public access to the pleadings in this case and to the courtroom proceedings, see United States v.

Hubbard, 650 F.2d 293 (D.C. Cir. 1980), the Court finds good cause to grant the Government’s
Motion to Seal and issues the following Order:

1. This Order and the attached Government’s Motion to Seal shall be filed under seal in
the Criminal Clerk’s office until further order of this Court;

2. All pleadings, records, and filings in this case shall be placed under seal by the
Criminal Clerk’s office until further order of this Court;

3. The Criminal Clerk’s office shall not make any entry on the public docket in this case
of the filing of any documents or pleadings, or any Orders of this Court until further order of this
Court;

4. The courtroom proceedings for the defendant’s plea and related proceedings are
closed until further order of this Court; and

5. Notwithstanding the other provisions of this ORDER, the government shall be

permitted to request a transcript of the plea proceedings in this case, and the Court Reporter shall

be permitted to prepare such a transcript and provide it to the government. The government may
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disclose information subject to this Order for the limited purpose of allowing the government to
comply with noticing and publishing requirements to effectuate any consent order of forfeiture
that may be filed as part of this case, and to comply with its discovery, Giglio, and Brady

obligations in any criminal case. Ine Soverwm Ment shall noh fy the ub as Soon as’
the need for seal ing Mo lense exists, [a that regad, Ke flac ties shy lf
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DATE Richard W. Roberts
Chief Judge
United States District Court for the
District of Columbia

Copies to:

Anthony Saler

Assistant United States Attorney

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